[1] Motion by respondent (who was one of the plaintiffs in the lower court) to dismiss appeal taken by one of the appellants (who also was a plaintiff in the lower court) on the ground that said appellant, having assigned his interest in the judgment to the respondent, is no longer interested in the result of the appeal. However, since it appears that the assignment in question was not made by such appellant personally and voluntarily, but that in consequence of an order of the trial court such assignment was made in behalf of said appellant by the clerk of the court; and since the outcome of the appeal is uncertain, it is clear that said appellant, notwithstanding his involuntary assignment of the judgment, may still be pecuniarily interested in the litigation.
The motion to dismiss the appeal is denied.
York, J., and Crail, J., pro tem., concurred.